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UNITED STATES BANKRUPTCY COURT, soUTHERN ingrach oF linensz

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CHAPTER 13 PLAN ( individual Adiustment of Debts)

 

 

 

 

[!:] Original Plan
[:l Amended Plan (Indicate lst, an, etc. Amended, if applicable)
l:| Moditie€f Plan (1ndicate lst, 2nd, etc. l‘vl<:»dltied1 ifapplicable)
DEBTOR: l\/iagnolia Del Carmen Medichini .lOlNT DEBTOR: CASE NO.: lS-lSOOB-JKO
SS#: xxx-xx- 7|43 SS#: xxx-xx-
l. N()'§;Eli§
To Debtors: Plans that do not comply with local rules and judicial rulings may not be conlirmable. All plans, amended plans

and modified plans shall be served upon all creditors and a certificate of service filed with the Cleri< pursuant to
Local Rules 2002-l (C)(S), 3015-1(]3)(2), and 30£5-2. Debtor(s) must commence plan payments within 30 days ot`
filing the chapter 13 petition or within 30 days of entry of the order converting the case to chapter 13.

To Creditors: Youi‘ rights may be affected by this pian. You must tile a timely proof of claim in order to be paid Yonr claim may

be reduced, modified or eliminated

To All Pai'ties: Tne plan contains no nonstandard provisions other than those set out in paragraph Vlll. Debtor(s) most check one

box on each line listed below in this section to state whether the plan includes any ofthe following

 

 

 

 

The valuation ofa secured eiaim, set out in Section lil, which may result in a |:§ Inc|uded @ Nm modified
partial payment or no payment at all to the secured creditor
Avoidance ofajuclicial lien or nonpossessoiy nonpnrchase-mohey security interest, set .

. . ` l § d d N ‘
out in Section iii l:l m ll e l:l et mcmde
Nonstandard provisions, set out in Section Vlll ij Included E] Not included

 

 

 

ll. PLAN PAYMENTS. L.ENGTH OF PLAN AND DEB'Z`OR(S§' ATTORNEY'S FEE

A. MON'I`HLY PLAN PAYMENT: "i`his Plan pays for the benefit of the creditors the amounts listed below, including trustee's
fees of 10%, beginning 30 days from the filing/conversion date, In the event the trustee does not retain the fail 10%, any unused
amount will be paid to unsecured nonpriority creditors pro-rata under the plan:

 

 

l. $l l.00 for months_i__to_ol;
2. $0.00 for months ____ to_WMM
3. $0.00 for rnontiisw“+wmm to____ ;
B. DEBTOR,(SI' ATTORNEY‘S FEE: |:l NONE l:l PRO BONO
Totai Fees: $3648.00 Total Paid: $3648.00 Balance Due: $0.00
Payable $0.00 /montit (Months _m to W“_ }

Ailowecl fees under LR 2016-1(3)(2) arc itemized below‘.
33,500.00 Attorney‘S Fee + $148.00 costs

 

Applications for compensation must be filed for ali fees over and above the Conrt's Guidelines for Cornpensation.
ill. TREATMENT OF SECURED CLAli\/ZS

A. S§ECUREI)CLAIMS: l:lNONE

[Retain Liens pursuant to ll U.S.C. §§325 (a)($)} l\flortgage(s)/Lien on Real or Personal Propel'ty:
B. VALUA*I`ION OF COLLATERAL: § NONE

C. LIEN AvolDANQE_ |:l NoNa

D. SURRENDER OF COLLATERAL.: Secured claims filed by any creditor granted stay relief in this section shall not receive a
distribution fom lite Ciiapter 13 Trustee.

Nona

 

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Debtor(s}: Magnolia Del Carrncn Met‘lichlni Case numbcr: i8-150i)8~j KO
E. i)lRECl EAYMENT : Secured claims filed by any creditor granted stay relief in this section shall not receive a distribution
fom the Chapter 13 'l`rustee.
[:] NONE

'l`ite debtor(s) elect to make payments directly to each secured creditor listed below. The debtor{s) request that upon
confirmation of this plan the automatic stay be terminated in rem as to the debtor{s) and in rem and in personam as to any
codebtor(s) as to these creditors Nothing herein is intended to terminate or abrogate the debtor(s)' state law contract rights

 

 

Name of Creditor Last 4 Digits of Account No. Description of Collateral tAdciress, Vehicle, etc,l
§ Embrace Home Loans, lnc. 7823 7010 SW l6 St, Plantation, FL 333§7
U.S. Small Business 7005 7010 SW 16 St, Plantation, FL 33317

2' Administration
IV. TREA'[`MENT OF FEES ANB PRIORlTY CLAIMS las defined in 1 l U.S.C. §507 and 1 l U.S.C, § l322(a)(4)]
A. ADMINISTRATIVE FEES OTHER THAN DEBTORS(S\' ATTORNEY'S FEE: NONE
B. INTEBNAL REVENUE SERVICE: NONE
C. DOMESTIC SUPPORT OBL§GATION¢S): NONE
D. oTHER: NONE
V. TREATMENT OF UNSECUREI} NONPRIORITY CREDITORS
A. Pay $10.00 /month (Months 1 mg )

Pro rata dividend will be calculated by the Trustee upon review of filed claims after bar date.
B. I:I if checl<ed, the Debtor(s) will amend/modify to pay 100% to all allowed unsecured nonpriority claims
C. §§MMT,___E_§_»X_§_MM! NONE

*Debtor(s} certify the separate ciassification(s) of the claim(s) listed above will not prejudice other unsecured nonpriority
creditors pursuant to 11 U.S.C. § 1322.

V§. EXECUTORY CONTRACTS AND UNEXPIRED LEASES: Secured claims filed by any creditor/lessor granted stay relief in this
section shall not receive a distribution from the Ctiapter 13 Trustee.

NoNE
vn. tacoma TAx RETURNS AND REFUNDS= ij NoNa

Debtor(s) shall provide copies of yearly income tax returns to the "i`rustee (but not file with the Court} no later than May
§5th during the pendency ofthe Chapter 13 case. ln the event the debtor(s)’ disposable income or tax refunds increase,
debtor(s) shall increase payments to unsecured creditors over and above payments provided through the Plan up to 100% of
allowed unsecured claims. §Broward/Palm Beach cases}

VIIl. NON-STANDARD PLAN PROVISIONS NONE

PROPERTY OF THE ESTATE WILL VEST lN TH'E DEBTOR{S) UPON PLAN CONFIRMATZON.

l declare that the foregoing chapter 13 plan is true and correct under penalty of perjuly.

/l./\_/\ Debt<>r manuals roth outer

Mi(gnolia Del Carmen Medichini Dat@ Date

 

Attorney with permission to sign on Date
Debtor(s)‘ behalf

By filing this'document, the Attorney for Debtor(s) or Debtor(s), if not represented by counsel, certifies that the wording and
order of the provisions in this Chapter 13 plan are identical to those contained in Local Form Chnpter 13 Plan and the plan
contains no nonstandard provisions other than those set out in paragraph VIII.

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